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William D. Hyslop Us BIN THE

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA, 9:19-CR-138-WEN
Plaintiff, INDICTMENT
V. Vio: 21 U.S.C. § 841(a)(1), (b)(1)(B)(i)

Possession with Intent to

ERIC LEE MORROW, Distribute 100 or More Grams of
Heroin

Defendant.
21 USS.C. § 853
Forfeiture Allegations
The Grand Jury charges:
On or about February 22, 2019, in the Eastern District of Washington, the
Defendant, ERIC LEE MORROW, knowingly possessed with intent to distribute 100

grams or more of a mixture or substance containing a detectible amount of heroin, a

Schedule I controlled substance, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B)().
NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures.
Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of 21

US.C. § 841(a)(1), (6)(1)(B)(i), as set forth this Indictment, the Defendant, ERIC

INDICTMENT - 1
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LEE MORROW, shall forfeit to the United States of America, any property
constituting, or derived from, any proceeds obtained, directly or indirectly, as the
result of such offense(s) and any property used or intended to be used, in any manner
or part, to commit or to facilitate the commission of the offense(s).

If any of the property described above, as a result of any act or omission of the
Defendant:

cannot be located upon the exercise of due diligence;

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b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided

without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p).

DATED this 4 day of September, 2019.

William D. Hyslop
United States Attorney

WatZ@H Rw

Timothy J. Ohmd/
Assistant United States Attorney

INDICTMENT - 2

A TRUE BILL

